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         序号             名称                       图片                            工艺            mold fee USD




          1          Front cowl                                           injection   mold          30000




          2             dash                                              injection   mold          36667




                                                      Trojan EV & GCC

                                                       DTX-27
                                                       No 4:21-cv-03075
CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                           TROJAN EV001825
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          3           underbody                                      injection   mold      66667




          4            retainer                                      injection   mold      35485




          5      rear cowl green part                                injection   mold      45000




CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                     TROJAN EV001826
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          6       battery container                                 injection   mold     21666.5




          7       underbody support                                 injection   mold       92500




          8          front light                                    injection   mold       41500

                                                                                        369485.5




CONFIDENTIAL-ATTORNEYS' EYES ONLY                                                                    TROJAN EV001827
